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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

                Plaintiff,

vs.                                                                               No. CR 03-2072 JB

ANTONIUS MARIA HEIJNEN, and
ELIZABETH A. PERRAGLIO,

                Defendants.

                             MEMORANDUM ORDER AND OPINION

        THIS MATTER comes before the Court on (i) Defendant Antonius Maria Heijnen’s oral

motion for a stay of proceedings, made February 16, 2005; and (ii) the United States’oral motion that

the Court preclude Heijnen from filing further notices of appeal, made February 16, 2005. Heijnen

has filed two notices of appeal in this case. See Notice of appeal to order denying continuance, filed

January 20, 2005 (Doc. 61); Notice of Appeal to Order on Jan 31, 2005, denying five (5) motions

by undersigned to dismiss, as filed Jan 25, 2005, filed February 9, 2004 (Doc. 89).1 The primary

issues are: (i) whether the Court should proceed with this case; and (ii) whether the Court should

enter an order precluding the Defendant Antonius Maria Heijnen from initiating additional appeals.

Because the Court concludes that the orders from which Heijnen appeals are not appealable orders,


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          Heijnen appeals the orders denying the following motions: (i) First Motion to Dismiss (Lack
of jurisdiction for failure to serve summons and indictment under federal rules), filed January 25, 2005
(Doc. 65); (ii) Second Motion to dismiss; Lack of jurisdiction, filed January 25, 2005 (Doc. 66); (iii)
Third Motion to dismiss; Default by Plaintiff and fraud resulting in lack of jurisdiction in addition,
filed January 25, 2005 (Doc. 67); (iv) Fourth Motion for Dismiss; Lack of due process; fraud, filed
January 25, 2005 (Doc. 68); (v) Fifth Motion to dismiss Lack of jurisdiction; true meaning of
Interstate Commerce, filed January 25, 2005 (Doc. 69).
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the Court will proceed with the case. The Court declines to stay the case or preclude Heijnen from

initiating additional appeals.

                                        LAW ON APPEALS

        28 U.S.C. § 1291 gives federal appellate courts jurisdiction to hear “appeals from all final

decisions of the district courts.” The final judgment rule requires that an appellant raise all claims of

error in a single appeal. See Flanagan v. United States, 465 U.S. 259, 263 (1984). “Federal appellate

jurisdiction generally depends on the existence of a decision by the District Court that ‘ends the

litigation on the merits and leaves nothing for the court to do but execute the judgment.’” Coopers

& Lybrand v. Livesay 437 U.S. 463, 467 (1978)(quoting Catlin v. United States, 324 U.S. 229, 233

(1945)). “Adherence to this rule of finality has been particularly stringent in criminal prosecutions

because ‘the delays and disruptions attendant upon intermediate appeal,’which the rule is designed

to avoid, ‘are especially inimical to the effective and fair administration of the criminal law.’” Abney

v. United States, 431 U.S. 651, 657 (1977)(quoting DiBella v. United States, 369 U.S. 121, 126

(1962)). “In a criminal case, a decision is not final until both conviction and imposition of sentence.”

United States v. Thompson, 814 F.2d 1472, 1474 (10th Cir. 1987)(citing Flanagan v. United States,

465 U.S. at 263). See United States v. Visinaiz, 96 Fed. Appx. 594, 596 (10th Cir. 2004); United

States v. Snell, 922 F.2d 588, 590 (10th Cir. 1990); United States v. Ritter, 587 F.2d 41, 42 (10th

Cir. 1978).
                                 COLLATERAL ORDER DOCTRINE

        The collateral order doctrine provides a narrow exception to the final judgment rule. The

collateral order doctrine allows a litigant to seek immediate review of an order if it “(1) conclusively

determines the disputed question, (2) resolves an important issue completely separate from the merits



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of the action, and (3) [is] effectively unreviewable on appeal from a final judgment.” United States

v. Visinaiz, 96 Fed. Appx. at 596 (quoting Midland Asphalt Corp. v. United States, 489 U.S. 794,

799 (1989)). The third prong of this test “is satisfied only where the order at issue involves ‘an

asserted right the legal and practical value of which would be destroyed if it were not vindicated

before trial.’” Midland Asphalt Corp. v. United States, 489 U.S. at 799 (quoting United States v.

MacDonald, 435 U.S. 850, 860 (1978)).

                                          JURISDICTION

        Generally, “the filing of a timely notice of appeal from an appealable order divests the trial

court of jurisdiction and confers jurisdiction on the court of appeals.”              United States v.

Mavrokordatos, 933 F.2d 843, 846 (10th Cir. 1991). That rule, however, “presupposes that there

is a valid appeal from an appealable order.” Euziere v. United States, 266 F.2d 88, 91 (10th Cir.

1959). See Arthur Anderson & Co. v. Finesilver, 546 F.2d 338, 340 (10th Cir. 1976). “An attempt

to appeal a non-appealable order remains just that, an attempt. It is a nullity and does not invest the

appellate court with jurisdiction, and consequently does not divest the trial court of its jurisdiction.”

Euziere v. United States, 266 F.2d at 91. “If the notice of appeal is deficient by reason of

untimeliness, lack of essential recitals, reference to a non-appealable order, or otherwise, the district

court may ignore it and proceed with the case.” Arthur Anderson & Co. v. Finesilver, 546 F.2d at

340-41. The relevant inquiry is whether the order at issue is appealable. See United States v.

Mavrokordatos, 933 F.2d at 846.

                                             ANALYSIS

        Under § 1291, the federal appellate court has jurisdiction only to hear appeals from a district

court’s final decisions. See 28 U.S.C. § 1291. A final decision in a criminal case is a conviction and


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sentence. See Flanagan v. United States, 465 U.S. at 263; United States v. Visinaiz, 96 Fed. Appx.

at 596; United States v. Thompson, 814 F.2d at 1474; United States v. Snell, 922 F.2d at 590.

Heijnen’s case is in the pre-trial stage. The orders from which Heijnen appeals are not convictions

or sentencings. The Court therefore concludes that the orders from which Heijnen appeals are not

final decisions under §1291.

        The Court also concludes that the collateral order doctrine does not apply to the orders at

issue in Heijnen’s notices of appeal. The motions underlying the Court’s orders challenge the Court’s

jurisdiction for various reasons, assert lack of due process and fraud, question the true meaning of

the Interstate Commerce Clause, and challenge the constitutionality of the Court’s jury selection plan

and various federal statutes. None of the matters addressed in the orders will be “effectively

unreviewable on appeal from a final judgment.” United States v. Visinaiz, 96 Fed. Appx. at 596

(quoting Midland Asphalt Corp. v. United States, 489 U.S. at 799). Nor do they involve “an

asserted right the legal and practical value of which would be destroyed if it were not vindicated

before trial.” See Midland Asphalt Corp. v. United States, 489 U.S. at 799.

        The Court concludes that none of Heijnen’s appeals are “valid appeals from appealable

orders.” Euziere v. United States, 266 F.2d at 91. Because of this deficiency, Heijnen’s notices of

appeal are “a nullity and [do] not invest the appellate court with jurisdiction, and consequently [do]

not divest the trial court of its jurisdiction.” Id. at 9. The Court concludes that it retains jurisdiction

over this matter. The Court will disregard Heijnen’s notices of appeal and will continue proceedings

in this case to bring it to trial.

        Heijnen has sought, through his various written motions and with a number of oral requests,

to delay his trial. His oral motion for a stay pending appeal is a similar request. Because the Court


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does not believe that the United States Court of Appeals for the Tenth Circuit will entertain his

notices of appeal until this Court enters final judgment, there is no sound reason to stay the case while

his notices of appeal are pending. The Court will deny Heijnen’s oral motion for a stay of the case.

          The Court was unable to find authority, and the United States did not supply any, for a district

court to enjoin a criminal defendant from filing appeals. The Court, being a trial court, is reluctant

to limit Heijnen's right to appeal the district court’s rulings against him. The Court therefore declines

to preclude Heijnen from filing additional appeals and declines the United States motion for such

relief.

          IT IS ORDERED that Defendant Antonius Maria Heijnen’s oral motion for a stay of

proceedings is denied. The United States’ oral motion that the Court preclude Heijnen from filing

further notices of appeal is denied.


                                                          ___________________________________
                                                          UNITED STATES DISTRICT JUDGE

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